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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                TEXARKANA DIVISION

 UNITED STATES OF AMERICA                                                          RESPONDENT


 v.                                    No. 4:11-cr-40037-041


 MICHAEL WALKER                                                                      MOVANT


                                              ORDER

        Movant, a Defendant in this criminal matter, has submitted his Motion under 28 U.S.C. §

 2255 to Vacate, Set Aside, or Correct Sentence. ECF Nos. 1690 and 1718. The Court has reviewed

 the Motion and finds the Government should respond.

        IT IS ORDERED the United States of America, by and through the United States Attorney

 for the Western District of Arkansas, is ordered to answer or otherwise respond to the issues raised

 by the Motion within sixty (60) days of the date of this Order.

        ENTERED this 22nd day of June 2016.


                                                          /s/ Barry A. Bryant
                                                       HON. BARRY A. BRYANT
                                                       UNITED STATES MAGISTRATE JUDGE
